Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 1 of 43

Fill in this information to identify your case:

United States Bankruptcy Court for the:
SOUTHERN DISTRICT OF TEXAS

 

Case number (if known): Chapter you are filing under:

Chapter 7
Chapter 14
Chapter 12

Chapter 13 (‘Check if this is an

amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying

correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Identify Yourself

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your
. . Anna
government-issued picture First Name FirstName
identification (for example, ;
your driver's license or Elaine
passport). Middle Name Middle Name
Willliams
Bring your picture Last Name Last Name
identification to your meeting
with the trustee. Suffix Gr, dr., I Il) Suffix (Sr, Jr., i, ith)
2. All other names you Anna
have used in the last 8 First Name First Name
years H
. Middie Name Middle Name
Include your married or an
maiden names Williams
‘ Last Name Last Name
Anna
First Name First Name
Harris
Middle Name Middle Name
Williams
Last Name Last Name
Anna
First Name First Name
E
Middle Name Middle Name
Williams
Last Name Last Name

 

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 2 of 43

Case number (if known)

 

Debtor 1 Anna Elaine Willliams
About Debtor 1:
3. Only the last 4 digits of
your Social Security XXX — XX -_ 7 2 4
number or federal OR
Individual Taxpayer
Identification number Qxx — XX —

6.

(ITIN)

Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

Where you live

Why you are choosing
this district to file for
bankruptcy

Official Form 101

[YJ | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

XXX — XX —
OR
9Xx -— XX —

[-]_ | have not used any business names or EINs.

 

Business name

Business name

 

Business name

Business name

 

Business name

2402 Elmen St.

Number Street

Business name

If Debtor 2 lives at a different address:

Number Street

 

 

 

 

Houston ™ 77019

City State ZIP Code City State ZIP Code
Harris

County County

If your mailing address is different from
the one above, fill it in here. Note that the
court will send any notices to you at this
mailing address.

If Debtor 2's mailing address is different
from yours, fill itin here. Note that the court
will send any notices to you at this mailing
address.

 

Number Street

Number = Street

 

 

P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
Check one: Check one:

[VJ Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

[] Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

page 2
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 3 of 43

Debtor 4 Anna Elaine Willliams

Case number (if known)

 

Tell the Court About Your Bankruptcy Case

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

8. How you will pay the fee

9, Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

Official Form 104

Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

w Chapter 7

C1 Chapter 11

[] Chapter 12

Oo Chapter 13

fv] | will pay the entire fee when | file my petition. Please check with the clerk's office in your local
court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
behalf, your attorney may pay with a credit card or check with a pre-printed address.

[[]_ I need to pay the fee in installments. If you choose this option, sign and attach the Application for

Individuals to Pay The Filing Fee in Installments (Official Form 103A).

(‘| request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
than 150% of the official poverty line that applies to your family size and you are unable to pay the
fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

| No

Cl Yes.

District When Case number
MM /DD/YYYY

District When Case number
MM/DD/YYYY

District When Case number
MM/DD/YYYY

Mi No

Cl Yes.

Debtor Relationship to you

District When Case number,
MM/DD/YYYY — if known

Debtor Relationship to you

District When Case number,
MM/DD/YYYY — if known

MW No. Goto line 12.

( Yes. Has your landlord obtained an eviction judgment against you?

C] No. Goto line 12.

[] Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
and file it as part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1

Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 4 of 43

Anna Elaine Willliams

Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

12.

43.

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a smail business
debtor or a debtor as
defined by 11 U.S.C.

§ 1182(1)?

For a definition of small
business debtor, see

11 U.S.C. § 101(51D).

[7] No. Go to Part 4.
L] Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZIP Code

Check the appropriate box to describe your business:

Health Care Business (as defined in 141 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 1014(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

OOOOO

If you are filing under Chapter 11, the court must know whether you are a smail business debtor or a debtor
choosing to proceed under Subchapter V so that it can set appropriate deadlines. {f you indicate that you
are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return

or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

7 No.
CC] No.

Cl Yes.

Cl Yes.

| am not filing under Chapter 11.

| am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

| am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | do not choose to proceed under Subchapter V of Chapter 11.

| am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.

Do you own or have any
property that poses or is
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Ordo you own
any property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed, or
a building that needs urgent
repairs?

Official Form 101

Ivy] No
[] Yes.

Voluntary Petition for Individuals Filing for Bankruptcy

What is the hazard?

lf immediate attention is needed, why is it needed?

Where is the property?

 

Number Street

 

 

City State ZIP Code

page 4
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 5 of 43

Debtor 4 Anna Elaine Willliams Case number (if known)

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

whether you
have received a
briefing about
credit
counseling.

The law requires
that you receive a
briefing about credit
counseling before
you file for
bankruptcy. You
must truthfully
check one of the
following choices.
If you cannot do so,
you are not eligible
to file.

If you file anyway,
the court can
dismiss your case,
you will lose
whatever filing fee
you paid, and your
creditors can begin
collection activities
again.

Official Form 101

You must check one:

i! received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

[]| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(J! certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

[J]! am not required to receive a briefing about
credit counseling because of:

[] incapacity. [havea mental illness or a mental
deficiency that makes me
incapable of realizing or making

rational decisions about finances.

CD Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

[1] Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

You must check one:

[]! received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

[J| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

[-]| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

L]! am not required to receive a briefing about
credit counseling because of:

[] Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

[1] Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

| am currently on active military
duty in a military combat zone.

(I Active duty.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5

 
 

Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 6 of 43

Debtor 1

Anna Elaine Willliams

Case number (if known)

 

Answer These Questions for Reporting Purposes

16. What kind of debts do you
have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities to
be?

Official Form 101

16a,

16b.

16c.

OOOO OOOO OOO

 

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose."

w No. Go to line 16b.
OO Yes. Go to line 17.

Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CI No. Go to line 16c.
MW Yes. Go to line 17.

State the type of debts you owe that are not consumer or business debts.

 

No. [am not filing under Chapter 7. Go to line 18.

Yes. lam filing under Chapter 7, Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

M No
Cl Yes

1-49
50-99
100-199
200-999

$0-$50,000
$50,001-$100,000
$100,001-$500,000
$500,001-$1 million

$0-$50,000
$50,001-$100,000
$100,001-$500,000
$500,001-$1 million

OOON OOON OOO

1,000-5,000
5,001-10,000
10,001-25,000

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

Voluntary Petition for Individuals Filing for Bankruptcy

OOOO OOOO ooo

25,001-50,000
50,001-100,000
More than 100,000

$500,000,001-$1 billion
$1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

$500,000,001-$1 billion
$1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

page 6

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 7 of 43

Debtor 4 Anna Elaine Willllams Case number (if Known)

 

 

For you {have examined this petition, and | declare under penally of perjury thal the information provided is true
and correct.

if | have chosen to file under Chapter 7, | am aware thal | may proceed, if eligible, under Chapter 7, 114, 12,
or 13 of title 14, United States Code. | understand the relief available under each chapler, and | choose to
proceed under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an altorney to help me
fill out this document, {| have obtained and read the nolice required by 11. U.S.C, § 342(b).

| request rellef in accordance with the chapler of lille 11, United States Code, specified in this petition,
| understand making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can resull in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

x fh ed x

Anna Elaine Williams, Debtor 1 Signature of-Debtor 2

aye yo
executed on JY / U S Zu ( Executed on
MM DD /YYYY MM/OD/YYYY

 

Official Form 1014 Voluntary Potitlon for Individuals Filing for Bankruptcy page 7
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 8 of 43

Debtor 1

For your attorney, if you are
represented by one

If you are not represented by

an attorney, you do not need
to file this page.

Official Form 101

Anna Elaine Willliams

Case number (if known)

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about
eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
relief availablé unde each chapter for-which the person is eligible. | also certify that | have delivered to
the debtor(s) th tice toqtul d by 11 U.S. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
cna | Haye no kp owl gé after amnquiry that the information in the schedules filed with the petition
is j neorregt/“/ UY :/

/ L /

 

f

 
 
  

 

VY Date O O% | 2/

 

 

 

 

 

 

 

 

 

XY
Signature of Attorney ip Dsktor MM///DD / YYYY
Richard Lee Fuqua Il
Printed name
Fuqua & Associates, P.C.
Firm Name
8558 Katy Freeway
Number Street
Suite 119
Houston TX 77024
City State ZIP Code
Contact phone (713) 960-0277 Email address RLFuqua@FuquaLegal.com
07552300 TX
Bar number State

Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 9 of 43

Fill in this information to identify your case and this filing:

Debtor 1 Anna
First Name

Debtor 2

Elaine
Middle Name

Willliams
Last Name

 

(Spouse, if filing) First Name

Middie Name

Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number

[1] Check if this is an

 

(if known)

 

amended filing

 

Official Form 106A/B
Schedule A/B: Property

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

[1] No. Goto Part 2.
Yes. Where is the property?

4.1.
2402 Elmen St.

 

Street address, if available, or other description

 

 

 

Houston TX 77019
City State ZIP Code
Harris
County

2402 Elmen St., Houston, TX 77019

2. Add the doilar value of the portion you own for all of your entries from Part 1, including any
entries for pages you have attached for Part 1. Write that number here... .cecssseesesessssesssreeserereesssreseanees >

Official Form 106A/B

Do not deduct secured claims or exemptions. Put the
amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

What is the property?

Check all that apply.

YY Single-family home

[I] Duplex or multi-unit building
Oo Condominium or cooperative
Cl Manufactured or mobile home

Current value of the
portion you own?

$1,428,000.00

Current value of the
entire property?

$1,428,000.00

 

Cl Land

CD Investment property Describe the nature of your ownership

[I] Timeshare interest (such as fee simple, tenancy by the
(] Other entireties, or a life estate), if known.

Who has an interest in the property? Fee Simple

Check one.

Mi Debtor 1 only

[] Debtor 2 only

[[] Debtor 1 and Debtor 2 only

[[] At least one of the debtors and another

 

[I] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

$1,428,000.00

 

 

 

Schedule A/B: Property page 1
Debtor 1

Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 10 of 43

Anna Elaine Willliams Case number (if known)

 

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Cc No

MM Yes
3.1. Who has an interest in the property?
Make: Mercedes-Benz Check one.
Model: CLS-CL [¥{ Debtor 1 only

Debtor 2

Year: 2014 [-] Debtor 2 only Current value of the

[[] Debtor 4 and Debtor 2 only entire property?

Do not deduct secured claims or exemptions. Put the
amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

 

 

Approximate mileage: 47,600
PP 9 : [J Atleast one of the debtors and another $20,000.00 $20,000.00
Other information:
2014 Mercedes-Benz CLS-CL (approx. [] Check if this is community property
47,600 miles) (see instructions)
4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
[VJ No
Cl Yes
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any $20,000.00

entries for pages you have attached for Part 2. Write that number Here... ssssssesensenssesetssessteneenrersetes »>

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

Official Form 106A/B

Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

[ No

 

 

 

YY Yes. Describe.....| Household goods & furnishings

 

 

 

Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
music collections; electronic devices including cell phones, cameras, media players, games

[J No

 

2TV's 100,
Stereo 25.
Computer 100.
Copy machine 50.
Cell phone 25.

[7] Yes. Describe.....

 

 

 

Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

MM No

 

Cc Yes. Describe...

 

 

 

Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$8,600.00

$300.00

page 2

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 11 of 43

Debtor 1 Anna Elaine Willliams Case number (if known)

 

9, Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

 

[Vj No

LO Yes. Describe.....

 

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

MY No

oO Yes. Describe.....

 

 

 

 

 

 

 

 

 

11. Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

[] No

[vj Yes. Describe.....) Wearing apparel $2,600.00
12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

gold, silver
0 No
[7] Yes. Describe... Costume jewelry 500. $7,500.00

2Watches 2500.

Pendant 2500.

Necklace & earrings 1000.
Bracelet &ring 1000.

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

oO No
[7] Yes. Describe... 8 parrots $1.00

 

 

 

 

14. Any other personal and household items you did not already list, including any health aids you
did not list
[v7] No
C] Yes. Give specific
information...........

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
attached for Part 3. Write the number here...........cccccsscecssecsersnssessevercevsenssesnenseaersaseranseasersrencuaseranesesersecnsansaess »> ___ $19,001.00

 

 

 

ri Describe Your Financial Assets

Current value of th
Do you own or have any legal or equitable interest in any of the following? u valu °

portion you own?
Do not deduct secured
claims or exemptions.

16, Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
petition
WY No
Ll YOS.sseessecsseeesssseesseseenssneesnsnseceesusseecnnnseecenanuactecnnyriccssanarsesesnasscesenssecesesssenneeeensseeeenn ee e400n4 CASH! wee eee eeeeeees

Official Form 106A/B Schedule A/B: Property page 3

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 12 of 43

Debtor 1 Anna Elaine Willliams Case number (if known)

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions. If you have multiple accounts with the same
institution, list each.

[(] No

| De Institution name:

17.1. Checking account: Prosperity Bank
Checking account
XXXX1345
Anna H Williams $184.52

17.2. Checking account: Trustmark National Bank
Checking account
XXXXXX3521
Robert F Parker or
Anna Harris Williams $0.00

17.3. | Checking account: Bank OZK
Checking account
XXXXXxX0425
Anna Harris Williams $67.67

17.4, | Checking account: BBVA
Checking account
XXXXXX6868
Ann Williams $47.75

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

[] No

wv YVOS oc ecsccrsceserseenteaees Institution or issuer name:

Fidelity Investments
Account #xxx-xxx499
Anna Williams $3,206.83

49. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture
[LJ] No
Yes. Give specific
information about

 

thEM.....ceceereeceneeeeese Name of entity: % of ownership:
Hampton Lane Builders LLC
Value: $0.00 100% $0.00
HL Builders (formerly CD Homes LLC)
Value: ($1,372.43) 100% ($1,372.43)

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

[yJ No
Yes. Give specific
information about
the... ccc ceeceeeeeeeee Issuer name:

Official Form 106A/B Schedule A/B: Property page 4
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 13 of 43

Debtor 4 Anna Elaine Willliams Case number (if known)

21.

22,

23,

24.

25.

26,

27.

 

Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans

[YJ No
[] Yes. List each
account separately. Type of account: Institution name:

Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

Mv No

[] YOS. eet ertteee Institution name or individual:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
[vy] No

[I] YOS oe ersten issuer name and description:

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

lM No

[1 YOS.0 etree Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit
[¥J No
Yes. Give specific
information about them

 

 

 

 

Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Examples: internet domain names, websites, proceeds from royalties and licensing agreements
[¥J No
Yes. Give specific
information about them

 

 

 

 

Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

oO No
MI Yes. Give specific Texas Real Estate License ___ $0.00
information about them

 

 

 

 

Money or property owed to you? Current value of the

28.

portion you own?
Do not deduct secured
claims or exemptions.

Tax refunds owed to you

 

MI No

[] Yes. Give specific information Federal:
about them, including whether
you already filed the returns State:
and the tax years... ees Local:

 

 

 

Official Form 106A/B Schedule A/B: Property page 5
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 14 of 43

Debtor 1 Anna Elaine Willliams Case number (if known)

29.

30.

31,

32.

33.

34.

35,

36.

 

Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

[v7] No

{] Yes. Give specific information Alimony:

 

Maintenance:
Support:

Divorce settlement:

 

 

Property settlement:

 

Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
compensation, Social Security benefits; unpaid loans you made to someone else

 

MW No

[I] Yes. Give specific information

 

 

 

Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

( No
[lv] Yes. Name the insurance
company of each policy
and list its value... Company name: Beneficiary: Surrender or refund value:

Prudential Life policy # L9 510 317

Insured: Robert Parker

Owner: Anna Williams

Term policy, No Cash Value Anna Williams $0.00

 

Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

[ly] No

[1] Yes. Give specific information

 

 

 

 

Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

[v7] No

Cl Yes. Describe each claim........

 

 

 

 

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

J No

O Yes. Describe each claim........

 

 

 

 

‘Any financial assets you did not already list

[vj No

[I] Yes. Give specific information

 

 

 

 

 

Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4, Write that number Nere..esssssssssssssssscsssscssssssnessesseevnsssssssessssnsesnsesusesnnssesusssesnsaseeeet >> $2,134.34

 

 

 

Official Form 106A/B Schedule A/B: Property page 6
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 15 of 43

Debtor 4 Anna Elaine Willliams Case number (if known)

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 4.

37. Do you own or have any legal or equitable interest in any business-related property?

YJ No. Goto Part 6.
0 Yes. Go to line 38.

Current value of the

portion you own?

Do not deduct secured

claims or exemptions.
38. Accounts receivable or commissions you already earned

iv] No
CI Yes. Describe..

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
desks, chairs, electronic devices

 

MY No

oO Yes. Describe..

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

M No

oO Yes. Describe..

 

 

 

 

41. Inventory

MY No

oO Yes. Describe..

 

 

 

 

42, Interests in partnerships or joint ventures

fy] No

L] Yes. Describe... Name of entity: % of ownership:
43. Customer lists, mailing lists, or other compilations

[fy] No

[] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

[] No

oO Yes. Describe....

 

 

 

 

44. Any business-related property you did not already list

Y No

OO Yes. Give specific information.

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that mumber here.........:.sscssssecsseresscessssecresesnensesersvesenesneesnseuanarstaetireserersneversennenszesane > _ 0,00

 

 

 

Fvaacee Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you own or have an interest in farmland, list it in Part 1.

46, Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

YY No. Go to Part 7.
oO Yes. Go to line 47.

Official Form 106A/8 Schedule A/B: Property page 7
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 16 of 43

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Anna Elaine Willliams Case number (if known)
Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
wy No
OO Yes...
48. Crops--either growing or harvested
J No
Yes. Give specific
information.............
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
WY Ne
Ol Yes...
50. Farm and fishing supplies, chemicals, and feed
[7] No
[] Yes...
51. Any farm- and commercial fishing-related property you did not already list
[J No
Yes. Give specific
information...........5.
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
attached for Part 6. Write that number here............:ccssosssessresssssserssesseseenerseeensenssnnesesearuussaseerenmnesseansrnversesarsnnes > $0.00
tia ee Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
fy No
| Yes. Give specific information.
54. Add the dollar value of all of your entries from Part 7. Write that number here...........--cseeesseseseeesennees > $0.00
Official Form 106A/B Schedule A/B: Property page 8

 

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 17 of 43

Debtor 1 Anna Elaine Willliams Case number (if known)

 

List the Totals of Each Part of this Form

 

 

 

 

 

55. Part 1: Total real estate, line Qoessssssssssssssssssssssessssssseecsssessceesseeseseseeussseeessisaracessisssensssusssssserecesssssesesvaanseey > $1,428,000.00
56. Part 2: Total vehicles, line 5 $20,000.00
57. Part 3: Total personal and household items, line 15 $19,001.00
58. Part 4: Total financial assets, line 36 $2,134.34
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
Copy personal
62. Total personal property. Add lines 56 through 61................ $41,135.34 | property total DB + $41,135.34
63. Total of all property on Schedule A/B. Add line 55 + lIn@ 62.0... eneneneeee rene nenenneneenenteneserenensress $1,469,135.34

 

 

 

Official Form 106A/B Schedule A/B: Property page 9

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 18 of 43

Fill in this information to identify your case:

Debtor 1 Anna Elaine Willliams
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS [1] Check if this is an

 

 

Case number amended filing

(if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

 

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/8: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

WM Youare claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b){3)
[(] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Check only one box for

 

Schedule A/B each exemption
Brief description: $1,428,000.00 | $448,988.00 Const. art. 16 §§ 50, 51, Texas
2402 Elmen St., Houston, TX 77019 [J 100% of fairmarket Prop. Code §§ 41,001-.002

value, up to any

Line from Schedule A/B: 1.1 .
eee applicable statutory

 

 

limit
Brief description: $20,000.00 wi $20,000.00 Tex. Prop. Code §§ 42.001 (a),
2014 Mercedes-Benz CLS-CL (approx. [] 100% of fairmarket 42.002(a)(9)
47,600 miles) value, up to any
Line from Schedule A/B: 3.1 applicable statutory
limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

[J No

[J Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

w No
| Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 19 of 43

Debtor 1 Anna Elaine Willliams

 

era Additional Page

Brief description of the property and line on Current value of
Schedule A/B that lists this property the portion you
own

Copy the value from

Amount of the
exemption you claim

Check only one box for

 

Case number (if known)

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $8,600.00 wi $8,600.00 Tex. Prop. Code §§ 42.001(a),
Household goods & furnishings [J 100% of fairmarket 42.002(a)(1)
Line from Schedule A/B: 6 value, up to any
—_——— applicable statutory
limit
Brief description: $300.00 MV $300.00 Tex. Prop. Code §§ 42.001 (a),
2TV's 100. [J 100% of fairmarket 42.002(a)(1)
Stereo 25. value, up to any
Computer 100. applicable statutory
Copy machine 50. limit
Cellphone 25.
Line from Schedule A/B: 7
Brief description: $2,600.00 Ww $2,600.00 Tex. Prop. Code §§ 42.001(a),
Wearing apparel [1] 100% of fairmarket 42.002(a)(5)
Line from Schedule A/B: 11 value, up to any
OO applicable statutory
limit
Brief description: $7,500.00 w $7,500.00 Tex. Prop. Code §§ 42.001(a),
Costume jewelry 500. [J 100% of fairmarket 42.002(a)(6)
2Watches 2500. value, up to any
Pendant 2500. applicable statutory
Necklace & earrings 1000. limit
Bracelet & ring 1000.
Line from Schedule A/B: 12
Brief description: $1.00 My $1.00 Tex. Prop. Code §§ 42.001 (a),
8 parrots [J] 100% of fairmarket 42.002(a)(11)
Line from Schedule A/B: 13 value, up to any
—_—— applicable statutory
limit
Brief description: $0.00 MI $0.00 Tex. Prop. Code §§ 42.001(a),
Texas Real Estate License [J 100% of fairmarket 42.002(a)(4)
Line from Schedule A/B: 27 value, up to any
al applicable statutory
limit
Brief description: $0.00 4 $0.00 Tex. Ins. Code §§ 1108.001,
Prudential Life policy # L9 510 317 [CO 100% of fairmarket = 1108.051

Insured: Robert Parker
Owner: Anna Williams
Term policy, No Cash Value
Line from Schedule A/B: 31

value, up to any
applicable statutory
limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt

page 2
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 20 of 43

Fill in this information to identify your case:

Debtor 1 Anna Elaine Willliams
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

“enone [1] Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).

41. Do any creditors have claims secured by your property?

[] No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
lv] Yes. Fill in ail of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured

 

 

claim, list the creditor separately for each claim. If more than one Column A =) <Column'B -— -Column.C
creditor has a particular claim, list the other creditors in Part 2. As “Amount of claim - Value of collateral Unsecured.
much as possible, list the claims in alphabetical order according to the Do not.deductthe. that supports this. portion
creditor's name. value of collateral claim _ Afany
Describe the property that
secures the claim: $598,012.00 $1,428,000.00
Bank Ozk
Creditors namo 2402 Elmen, Houston, TX
PO Box 196 77019

 

Number = Street

 

As of the date you file, the claim is: Check all that apply.
0 Contingent

 

 

Ozark AR 72949 CO Unliquidated
City State ZIP Code oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.

YY Debtor 1 only

[] Debtor 2 only

[) Debtor 1 and Debtor 2 only

[] At least one of the debtors and another

CO An agreement you made (such as mortgage or secured car loan)
[[] Statutory lien (such as tax lien, mechanic's lien)

[] Judgment lien from a lawsuit

fv] Other (including a right to offset)

((] Check if this claim relates Deed of Trust
to a community debt
Date debt was incurred 9/29/2011 Last 4 digits of account number 7 6 O O

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $598,012.00

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 21 of 43

Debtor 1 Anna Elaine Willliams Case number (if known)

 

Additional Page “Column A Column.B _ Column.c

“Amount of.claim. Value of collateral. . Unsecured
Do not deductthe. that supports this. portion
value of collateral. claim _ifany

lime After listing any entries on this page, number them
sequentially from the previous page.

 

 

Describe the property that

 

secures the claim: $0,00 $1,428,000.00
Hmaidan Holdings, LLC
en g 2402 Elmen Dr., Houston, TX
607 Blue Iris Trail 77019

Number Street

 

 

 

As of the date you file, the claim is: Check all that apply.
oO Contingent

 

 

Houston TX 77079 [] Unliquidated
City State ZIP Code wi Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.

[VJ Debtor 1 only

[J Debtor 2 only

[I] Debtor 1 and Debtor 2 only

[CJ Atleast one of the debtors and another

[] An agreement you made (such as mortgage or secured car loan)
[[] Statutory lien (such as tax lien, mechanic's lien)
( Judgment lien from a lawsuit
| Other (including a right to offset)
(] Check if this claim relates Notice Only
to a community debt

Date debt was incurred Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $0.00

 

 

 

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here: $598,012.00

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2
Case 21-60032 Document1 Filed in TXSB on 04/08/21

Page 22 of 43

Fill in this information to identify your case:

Debtor 1 Anna Elaine

First Name

Debtor 2

Middle Name

Willliams
Last Name

 

(Spouse, if filing) First Name

Middie Name

Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number

[C] Check if this is an

 

(if known)

 

amended filing

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

[J No. Goto Part 2.
MW Yes,

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular

claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.

 

 

 

 

 

 

 

 

 

 

Total.claim Priority — Nonpriority
: amount amount
2.4 $1,401.85 $1,401.85 $0.00
Internal Revenue Service we
Priority Creditors Name Last 4 digits of account number LL
P.O. Box 7346 When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
[-] Contingent
. Unliquidated
Philadelphia PA 19101-7346 HI Disputed
City State ZIP Code
Who incurred the debt? Check one. Type of PRIORITY unsecured claim:
Debtor 1 only [[] Domestic support obligations
[-] Debtor 2 only Taxes and certain other debts you owe the government
Debtor 1 and Debtor 2 only ["] Claims for death or personal injury while you were
[] At least one of the debtors and another intoxicated
[] Check if this claim is fora community debt (] Other. Specify
Is the claim subject to offset?
[vy] No
LC] Yes
Official Form 106E/F Schedule E/F; Creditors Who Have Unsecured Claims page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 23 of 43

Debtor 1 Anna Elaine Willliams

Case number (if known)

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

[] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

wi Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
if a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

 

 

4.1
2203 Looscan Lane, LLC

 

 

 

Nonpriority Creditor's Name

c/o Charles M. Rubio

 

Number Street
Parkins, Lee & Rubio LLP

 

700 Milam St., Ste. 1300

 

 

Houston TX 77002
City State ZIP Code
Who incurred the debt? Check one.

Yj Debtor 1 only
Debtor 2 only
oO Debtor 1 and Debtor 2 only
[] At least one of the debtors and another
(1) Check if this claim is for a community debt

Is the claim subject to offset?
Iv] No
Oo Yes

4.2
415 Shadywood, LLC

Nonpriority Creditor's Name

clo Charles M. Rubio

 

 

 

 

 

Number Street
Parkins Lee & Rubio LLP

 

700 Milam St., Ste. 1300

 

 

Houston TX 77002
City State ZIP Code
Who incurred the debt? Check one.

[YJ Debtor 4 only
Debtor 2 only
Debtor 1 and Debtor 2 only
[J At least one of the debtors and another
CD Check if this claim is for a community debt
is the claim subject to offset?
[7] No
(1 Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Unknown
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
[1 Contingent

[L] Unliquidated

[lv] Disputed

Type of NONPRIORITY unsecured claim:
Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[1] Debts to pension or profit-sharing plans, and other similar debts
[7] Other. Specify
Adversary No. 20-03237

Unknown
Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
[J Contingent

Unliquidated
[vy] Disputed

Type of NONPRIORITY unsecured claim:
[] Student loans
[LJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[I] Debts to pension or profit-sharing plans, and other similar debts
[7] Other. Specify
Adversary No. 20-03237

page 2
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 24 of 43

Debtor 4 Anna Elaine Willliams

Case number (if known)

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.3

 

 

 

 

American Express Blue

 

Nonpriority Creditor's Name

 

 

 

 

PO Box 650448

Number Street

Dallas T™ 75265-0448
City State ZIP Code

Who incurred the debt? Check one.

Debtor 1 only
[[] Debtor 2 only
[[] Debtor 1 and Debtor 2 only
[I] Atleast one of the debtors and another
[] Check if this claim is for a community debt
Is the claim subject to offset?
VJ No -
[] Yes

4.4

 

 

 

 

American Express Optima

 

Nonpriority Creditor's Name

 

 

 

 

PO Box 650448

Number Street

Dallas TX 75265
City State ZIP Code
Who incurred the debt? Check one.

[YJ Debtor 4 only
Debtor 2 only
[[] Debtor 1 and Debtor 2 only
[] Atleast one of the debtors and another
[1] Check if this claim is for a community debt

Is the claim subject to offset?

| No
Oo Yes

4.5

 

 

 

 

Charles C. Foster

Nonpriority Creditor’s Name

3 Greenway Plaza, Ste 800
Number Street

 

 

 

Houston TX 77046
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
[I] Debtor 2 only
Debtor 1 and Debtor 2 only
[J] Atleast one of the debtors and another

[I] Check if this claim is for a community debt
Is the claim subject to offset?

wv No
oO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

"Total claim”
$8,751.10
Last4 digits ofaccountnumber 2 0 O 3
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
(1 Contingent
[ Unliquidated
( Disputed
Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[[] Debts to pension or profit-sharing plans, and other similar debts
[YJ Other. Specify
Credit Card - CD Homes
$18,868.04
Last 4 digits of account number 3 0D oO 7.
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
[C1] Contingent
[J Uniiquidated
[1] Disputed
Type of NONPRIORITY unsecured claim:
Student loans
[[] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
Ww Other. Specify
Credit Card
$0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C1] Contingent
Unliquidated

CO Disputed

Type of NONPRIORITY unsecured claim:
ZO Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[ Debts to pension or profit-sharing plans, and other similar debts
[YJ Other. Specify
Potential Claim

page 3
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 25 of 43

Debtor 1 Anna Elaine Willliams

Case number (if known)

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

 

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page.
46 $0.00
Charles C. Foster Last 4 digits of account number
Nonpriority Creditors Name . 9 To
clo Christopher R. Murray When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
4119 Montrose, Ste 230 (1 Contingent
CT Unliquidated
CD Disputed
Houston TX 77006
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. [1 Student loans
aa ony Obligations arising out of a separation agreement or divorce
C] Debtor 4 ond D btor 2 onl that you did not report as priority claims
ebdtor 7 and Vebior « only Debts to pension or profit-sharing plans, and other similar debts
[[] At least one of the debtors and another I Other. Specify
[_] Check if this claim is for a community debt Potential Claim
Is the claim subject to offset?
No
OO Yes
‘v __$61,319.95
Chase Cardmember Service Last 4 digits ofaccountnumber 2 9 1° 3)
Nonpriority Creditor's Name : 9
PO Box 6294 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
[] Contingent
oO Unliquidated
oO Disputed
Carol Stream IL 60197-6294
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. [ Student loans
renee ony Obligations arising out of a separation agreement or divorce
Debtor 1 ond D btor 2 onl that you did not report as priority claims
edtor 1 and Pebior < only [J Debts to pension or profit-sharing plans, and other similar debts
oO At least one of the debtors and another i] Other Specify
CO Check if this claim is for a community debt Credit Card
Is the claim subject to offset?
[J No
Ci Yes
4.8 $461.21
Chi St. Luke's Health Last 4 digits ofaccountnumber 9 7 7 9°
Nonpriority Creditor's Name . 2
PO Box 676174 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
[] Contingent
(1) Unliquidated
Cc Disputed
Dallas TX 75267-6174
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. Student loans
Dope > ony [] Obligations arising out of a separation agreement or divorce
C Debtor 1 and btor 2 onl that you did not report as priority claims
ebtor 7 and Vebdior « only Debts to pension or profit-sharing plans, and other similar debts
Cy At least one of the debtors and another ml Other. Specify
[J Check if this claim is for a community debt Medical services
Is the claim subject to offset?
MY No
Cc Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4

Total claim.

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 26 of 43

Debtor 1 Anna Elaine Willliams

Case number (if known)

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

4.9
Citi

 

 

 

 

Nonpriority Creditor's Name
PO Box 78045

 

 

 

 

Number Street

Phoenix AZ 85062-8045
City State ZIP Code

Who incurred the debt? Check one.

[J Debtor 1 only
Debtor 2 only
[[] Debtor 1 and Debtor 2 only
CO At least one of the debtors and another
[1] Check if this claim is for a community debt
Is the claim subject to offset?
[VJ No
CI Yes

4.10

 

 

 

 

Great Southwest Financial

 

Nonpriority Creditor's Name
c/o Ross Spence

 

Number Street
2929 Allen Parkway, Ste 2800

 

 

 

Houston ™ 77019
City State ZIP Code
Who incurred the debt? Check one.

YJ Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
[[] At least one of the debtors and another
CO Check if this claim is fora community debt
Is the claim subject to offset?
[Iv] No
(] Yes

4.11

 

 

 

 

Great Southwest Financial
Nonpriority Creditor's Name

2001 Kirby, Ste. 1300

 

 

 

 

Number Street

Houston, TX

77019

City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
Cy At least one of the debtors and another
[] Check if this claim is for a community debt
Is the claim subject to offset?
[fy] No
CO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

$17,717.05
Last 4 digits ofaccountnumber 9 8 9 8
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
C1 Contingent

[1] Uniiquidated
[] Disputed

Type of NONPRIORITY unsecured claim:
Student loans
[I] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[1] Debts to pension or profit-sharing plans, and other similar debits
[7] Other. Specify
Credit Card

$0.00
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
1 Contingent

J Unliquidated

CD Disputed

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
[vy] Other. Specify
Potential Claim

$0.00
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
[-] Contingent

[] Unliquidated

[7] Disputed

Type of NONPRIORITY unsecured claim:
Student loans
[-] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
[J Other. Specify
Potential Claim

page 5
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 27 of 43

Debtor 4 Anna Elaine Willliams

Case number (if known)

 

BEER EaEE Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page.
4.12 $381,000.00
Hmaidan Holdings, LLC Last4 digits ofaccountnumber
Nonpriority Creditor's Name :
607 Blue Iris Trail When was the debt incurred? 04/24/2018
Number Street As of the date you file, the claim is: Check all that apply.
LJ Contingent
UD unliquidated
© Disputed
Houston TX 77079
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. Student loans
wi See ; ony (] Obligations arising out of a separation agreement or divorce
C] be or 1 aa btor 2 onl that you did not report as priority claims
[] Debtor 1 and Debtor 2 only [] Debts to pension or profit-sharing plans, and other similar debts
[J At least one of the debtors and another 7] Other. Specify
[J Check if this claim is for a community debt Claim
Is the claim subject to offset?
[fy] No
Cl Yes
4.13 Unknown
Houtex Builders, LLC Last 4 digits of account number _
Nonpriority Creditors Name .
clo Charles M. Rubio When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
Parkins, Lee & Rubio LLP [] Contingent
700 Milam St., Ste. 1300 [J Unliquidated
fv] Disputed
Houston TX 77002
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. Student loans
vw Bee 1 ony [] Obligations arising out of a separation agreement or divorce
Sere 2 and D btor 2 ont that you did not report as priority claims
[1] Debtor 1 and Debtor 2 only [[] Debts to pension or profit-sharing plans, and other similar debts
oO At least one of the debtors and another wm Other. Specify
[] Check if this claim is for a community debt Adversary No. 20-03237
Is the claim subject to offset?
wv No
Cl Yes
4.14 $269.43
Integrative Emerg Svcs Grp Last4 digits ofaccountnumber 8 1 8 3°
Nonpriority Creditor's Name When was the debt incurred?
clo BC Services, Inc. —_~—$—
Number Street As of the date you file, the claim is: Check all that apply.
§550 Disc Dr. 1] Contingent
[] Unliquidated
[] Disputed
Longmont co 80503
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. oO Student loans
[YJ Debtor 1 ony Obligations arising out of a separation agreement or divorce
Debtor 2 only i that you did not report as priority claims
Debtor 1 and Debtor 2 only [J Debts to pension or profit-sharing plans, and other similar debts
oO At least one of the debtors and another wm Other. Specify
[J Check if this claim is for a community debt Goods & Services
Is the claim subject to offset?
Mi No
oO Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 6

Total claim

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 28 of 43

Debtor 4 Anna Elaine Willliams

Case number (if known)

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page. Total claim
418 $1.00
Jim Nored Last 4 digits of account number
Nonpriority Creditor's Name . nes
6618 FM 2100 Road When was thedebtincurred?
Number Street As of the date you file, the claim is: Check all that apply.
[YJ Contingent
[ Unliquidated
[ Disputed
Crosby TX 77532
City > State ZIP Code Type of NONPRIORITY unsecured claim:
ae ure the debt? Check one. o Student loans
Debtor 9 only Obligations arising out of a separation agreement or divorce
CJ Debtor 1 ° aD btor 2 onl that you did not report as priority claims
[J Debtor 1 and Debtor 2 only Debts to pension or profit-sharing plans, and other similar debts
Oo At least one of the debtors and another mw Other. Specify
( Check if this claim is for a community debt Potential Claim
Is the claim subject to offset?
[vy] No
Oo Yes
4.16 $0.00
Jonathan Finger Last 4 digits of account number
Nonpriority Creditor's Name . 2 Te
2001 Kirby, Suite 1300 When was the debt incurred? ee
Number Street As of the date you file, the claim is: Check ail that apply.
CO Contingent
CJ Uniiquidated
[(] Disputed
Houston TX 77019
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. [ Student loans
Doe ; ony Obligations arising out of a separation agreement or divorce
elton 4 ad btor 2 onl that you did not report as priority claims
edtor 7 and Beptor « only Debts to pension or profit-sharing plans, and other similar debts
C] At least one of the debtors and another i Other Specify
[[] Check if this claim is for a community debt Potential Claim
Is the claim subject to offset?
Mw No
Oo Yes
4.47 $42,805.64
Luxury Card Last 4 digits of accountnumber 6 9 4 6
Nonpriority Creditor's Name . > Te
PO Box 60517 When was the debt incurred?
Number Street As of the date you file, the claim is: Check ail that apply.
[1 Contingent
[1] Unliquidated
| Disputed
City of Industry CA 91716-0517
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. Student loans
Bebe > ony a Obligations arising out of a separation agreement or divorce
C Debtor 1 ond D. btor 2 onl that you did not report as priority claims
eptor 7 and Medior « only Oo Debts to pension or profit-sharing plans, and other similar debts
Cl At least one of the debtors and another i] Other Specify
[(] Check if this claim is for a community debt Credit Card
Is the claim subject to offset?
Mw No
0 Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 7
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 29 of 43

Debtor 1 Anna Elaine Willliams

Case number (if known)

 

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page. Total claim
418 $0.00
NMRO Holdings LLC Last 4 digits of account number
Nonpriority Creditor's Name . 9 —
2001 Kirby, Ste. 1300 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
Houston, TX C1 Contingent
77019 oO Unliquidated
fv] Disputed
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. [1 Student loans
Ooo > ony Obligations arising out of a separation agreement or divorce
Cl Debtor 4 ang D btor 2 onl that you did not report as priority claims
[1] Debtor 1 and Debtor 2 only Debts to pension or profit-sharing plans, and other similar debts
[_] At least one of the debtors and another 7] Other. Specify
[-] Check if this claim is for a community debt Potential Claim
Is the claim subject to offset?
M No
C1 Yes
4.19 $1,262.23
O'Conner & Associates Last4 digits ofaccountnumber 8 1 6 1
Nonpriority Creditor's Name : 2 —
2200 North Loop West #200 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
[[] Contingent
[-] Unliquidated
oO Disputed
Houston TX 77018
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. Student loans
aaa ony Obligations arising out of a separation agreement or divorce
Debtor 4 ona D btor 2 on! that you did not report as priority claims
ebtor 1 and Lebior « only Debts to pension or profit-sharing plans, and other similar debts
[] Atleast one of the debtors and another M7 Other Specify
oO Check if this claim is fora community debt Property tax services
Is the claim subject to offset?
Iv] No
CO Yes
4.20 $183,155.42
Russell Frankel Last 4 digits of account number
Nonpriority Creditor's Name . oo
3604 Meadow Lake Lane Whenwasthedebtincurred?
Number Street As of the date you file, the claim is: Check all that apply.
LJ Contingent
[7] Unliquidated
oO Disputed
Houston TX 77027
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. oO Student loans
Bebe > ony Obligations arising out of a separation agreement or divorce
O Debtor 1 onaD btor 2 onl that you did not report as priority claims
ebtor 7 and Debtor < only [[] Debts to pension or profit-sharing plans, and other similar debts
[J Atleast one of the debtors and another I Other Specify
[J Check if this claim is fora community debt Loan
Is the claim subject to offset?
M No
oO Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 8

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 30 of 43

Debtor 4 Anna Elaine Willliams

Case number (if known)

 

eo Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page.
424 $0.00
Spirit of Texas Bank Last 4 digits of account number oe
Nonpriority Creditor's Name . 2
clo Charles M. Rubio When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
Parkins Lee & Rubio LLP CJ Contingent
700 Milam St., Ste. 1300 Unliquidated
YJ Disputed
Houston TX 77002
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. [J Student loans
v7 ene ony [I] Obligations arising out of a separation agreement or divorce
Debtor 4 ond D btor 2 onl that you did not report as priority claims
[J Debtor 7 and Debtor < only [[] Debts to pension or profit-sharing plans, and other similar debts
[J At least one of the debtors and another M7] Other. Specify
CJ Check if this claim is for a community debt Potential Claim
Is the claim subject to offset?
(7 No
t Yes
4.22 $5,852.84
Visa Platinum Last 4 digits ofaccountnumber 9 2 5 6
Nonpriority Creditor's Name .
Credit Card Processing When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
PO Box 143 [-] Contingent
[] Unliquidated
[((] Disputed
Jackson MS 39205-0143
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. Student loans
eee 5 ony Obligations arising out of a separation agreement or divorce
Debtor 4 od btor 2 onl that you did not report as priority claims
ebtor tT and Ventor « only Debts to pension or profit-sharing plans, and other similar debts
[[] At least one of the debtors and another 7] Other. Specify
LJ Check if this claim is for a community debt Credit Card
Is the claim subject to offset?
WY No
Cl Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 9

Total claim
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 31 of 43

Debtor 1 Anna Elaine Willliams

Case number (if known)

 

List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 4 or 2.
For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
any debts in Parts 1 or 2, do not fill out or submit this page.

Finger Interests
Name

2001 Kirby, Ste. 1300

On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

 

Number Street

 

 

 

 

[I] Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Houston TX 77019

City State ZIP Code

Internal Revenue Service On which entry in Part 1 or Part 2 did you list the original creditor?

Name

P.O. Box 7346 Line of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

Number Street [I] Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number _

Philadelphia PA 19101-7346

City State ZIP Code

Nationwide Credit, Inc. On which entry in Part 1 or Part 2 did you list the original creditor?

Name

PO Box 15130 Line 4.3 of (Check one): [] Part 1: Creditors with Priority Unsecured Claims

Number Street [7] Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ee

Wilmington DE 19850-5130

City State ZIP Code

RMP Services LLC On which entry in Part 1 or Part 2 did you list the original creditor?

Name

PO Box 630844 Line 4.8 of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

Number Street [YJ Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ee

Cincinnati OH 45263-0844

City State ZIP Code

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 10

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 32 of 43

Debtor 1 Anna Elaine Willliams

 

Add the Amounts for Each Type of Unsecured Claim

Case number (if known)

8. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

Total claims 6a.

from Part 1

6b.

6c.

6d.

6e.

Total claims 6f.
from Part 2

6g.

6h.

Gi.

Gj.

Official Form 106E/F

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar
debts

Other. Add all other nonpriority unsecured claims. Write that amount here.

Total. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

6a.

6b.

6c.

6d.

6d.

6f.

6g.

6h.

Gi.

gj.

Total claim

$0.00

$1,401.85

$0.00

$0.00

 

 

$1,401.85

 

 

Total claim

$0.00

$0.00

$0.00

$721,463.91

 

 

$721,463.91

 

 

page 11
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 33 of 43

Fill in this information to identify your case:

Debtor 1 Anna Elaine Willliams
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

(recount [1] Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

——————————e ll ele

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

[J No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C] Yes. Fillin all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
executory contracts and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 34 of 43

Fill in this information to identify your case:

Debtor 1 Anna Elaine Willliams
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

(resown) (1 Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. if more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

1. Doyou have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

Mw No
oO Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
[ No. Goto line 3.
Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
OO No
I Yes

In which community state or territory did you live? Texas Fill in the name and current address of that person.

Robert Parker
Name of your spouse, former spouse, or legal equivalent

2402 Elmen St.

 

 

 

Number Street
Houston TX 77019
City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

Official Form 106H Schedule H: Your Codebtors page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 35 of 43

Fill in this information to identify your case:

Debtor 1 Anna Elaine Willliams
First Name Middie Name Last Name Check if this is:

Debtor 2 A ii
(Spouse, if filing) First Name Middle Name Last Name Cy An amended filing

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number
(if known)

Official Form 1061
Schedule I: Your Income 42/15

(J Asupplement showing postpetition
chapter 13 income as of the following date:

 

 

 

MM /DD/YYYY

 

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Describe Employment

1.  Fillin your employment

 

 

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one
job, attach a separate page Employment status | Employed LJ Employed
with information about (1 Not employed MI Not employed
additional employers. .
Occupation Manager

Include part-time, seasonal,
or self-employed work. Employer's name Hampton Lane Builders, LLC
Occupation may include — Employer's address 2402 Elmen St.
student or homemaker, if it Number Street Number Street
applies.

Houston TX _77019

City State Zip Code City State Zip Code

How long employed there? 6 years

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all 2. $200.00 $0.00
payroll deductions). If not paid monthly, calculate what the monthly wage
would be.
3. Estimate and list monthly overtime pay. 3. + $0.00 $0.00
4. Calculate gross income. Add line 2 + line 3. 4. $200.00 $0.00

 

 

 

 

 

 

Official Form 106] Schedule I: Your Income page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 36 of 43

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Anna Elaine Willliams Case number (if known)
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 DOre ...essssscestssesseecneseeecseseorsrsseserssevssessseernseraveeeeorseessesensess »> 4. $200.00 $0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $0.00 $0.00
5b. Mandatory contributions for retirement plans 5b. $0.00 $0.00
5c. Voluntary contributions for retirement plans 5c. $0.00 $0.00
5d. Required repayments of retirement fund loans 5d. $0.00 $0.00
5e. Insurance 5e. $0.00 $0.00
5f. Domestic support obligations 5f. $0.00 $0.00
5g. Union dues 5g. $0.00 $0.00
5h. Other deductions.
Specify: 5h.+ $0.00 $0.00
6. ae te payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+ 6. $0.00 $0.00
g + 5h.
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $200.00 $0.00
List all other income regularly received:
8a. Netincome from rental property and from operating a 8a. $0.00 $0.00

 

business, profession, or farm

Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.

8b. Interest and dividends 8b. $0.00 $0.00
8c. Family support payments that you, a non-filing spouse, or a 8c. $0.00 $0.00
dependent regularly receive

 

 

Include alimony, spousal support, child support, maintenance,
divorce settlement, and property settlement.

8d. Unemployment compensation 8d. $0.00 $0.00
8e. Social Security 8e. $0.00 $2,354.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) or any non-

cash assistance that you receive, such as food stamps

(benefits under the Supplemental Nutrition Assistance Program)

or housing subsidies.

 

 

 

 

 

 

 

 

 

 

Specify: af. $0.00 $0.00
8g. Pension or retirement income 8g. $0.00 $0.00
8h. Other monthly income.
Specify: 8h.4 $0.00 $0.00
9, Addall other income. Add lines 8a + 8b + 8c + 8d + 8e + Bf + 8g +t Bh. 9. $0.00 $2,354.00
10. Calculate monthly income. Add line 7 + line 9. 10. $200.00 [+ $2,354.00 |= $2,554.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

 

41, State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

Specify: 11. + $0.00
42. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12. $2,554.00

income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, -

if it applies. Combined

monthly income
43. Do you expect an increase or decrease within the year after you file this form?

 

No. None.
CD Yes. Explain:

 

 

 

Official Form 1061 Schedule |: Your Income page 2
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 37 of 43

 

Debtor 1 Anna Elaine Willliams Case number (if known)
1. Additional Employers Debtor 1 Debtor 2 or non-filing spouse
Occupation Manager

 

Employer's name HL Builders LLC fka CD Homes
Employer's address 2402 Elmen St.

 

 

Houston TX 77019
City State Zip Code City State Zip Code

How long employed there? 15 years

Official Form 106! Schedule I: Your Income page 3
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 38 of 43

Fill in this information to identify your case:

Check if this is:

 

 

 

 

 

Debtor 1 Anna Elaine Willliams [] An amended filing

First Name Middle Name Last Name Oo A supplement showing postpetition
Debtor 2 chapter 13 expenses as of the
(Spouse, if filing) First Name Middle Name Last Name following date:
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS MM/DD/YYYY
Case number
(if known)

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

Describe Your Household

1. Is this a joint case?

[71 No. Go to line 2.
[J Yes. Does Debtor 2 live in a separate household?

LJ] No

(1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? C1 No

 

 

 

 

 

 

; Par i Dependent's relationship to Dependent's Does dependent
Do not list Debtor 1 and wi Ion sach dependent en Debtor 1 or Debtor 2 age live with you?
Debtor? i (tst(‘z‘élé«SCC«*P OF BACH depENdENtennrerrrerreree
Spouse 77 a vo
Do not state the dependents’ N
names. [] No
[] Yes
[] No
O Yes
[1 No
O Yes
1] No
[] Yes
3. Do your expenses include [VJ No
expenses of people other than C1 Yes

yourself and your dependents?

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule |: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. 4, $4,053.00

Include first mortgage payments and any rent for the ground or lot.

If not included in line 4:

4a, Real estate taxes 4a. $2,267.00
4b. Property, homeowner's, or renter’s insurance 4b. $350.00
4c. Home maintenance, repair, and upkeep expenses 4c. $300.00
4d. Homeowner's association or condominium dues 4d.

Official Form 106J Schedule J: Your Expenses page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 39 of 43

Debtor 4 Anna Elaine Willliams

10.
11.

12.

413.

14.
415.

16.

17.

18.

19.

 

Utilities:

Case number (if known)

Your expenses

 

magazines, and books

Insurance.

15a. Life insurance
15b. Health insurance

15c. Vehicle insurance

 

Specify:

 

17c. Other. Specify:

 

47d. Other. Specify:

 

Additional mortgage payments for your residence, such as home equity loans 5.
6a. Electricity, heat, natural gas 6a.
6b. Water, sewer, garbage collection 6b.
6c. Telephone, cell phone, Internet, satellite, and 6c.
cable services
6d. Other. Specify: Cellular telephone 6d.
Food and housekeeping supplies 7.
Childcare and children’s education costs 8.
Clothing, laundry, and dry cleaning 9.
Personal care products and services 10.
Medical and dental expenses 41.
Transportation. Include gas, maintenance, bus or train 12.
fare. Do not include car payments.
Entertainment, clubs, recreation, newspapers, 13.
Charitable contributions and religious donations 14.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a.
15b.
15c.
15d. Other insurance. Specify: Umbrella and flood 18d.
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16.
Installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicie 2 17b.
17c.
17d.
Your payments of alimony, maintenance, and support that you did not report as 18.
deducted from your pay on line 5, Schedule |, Your Income (Official Form 1061).
Other payments you make to support others who do not live with you. 19

Specify:

 

Official Form 106J Schedule J: Your Expenses

350.00
$200.00
$651.00

$166.00
$900.00

$200.00
$437.00

$2,312.00
$865.00
$397.00
$101.00

page 2
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 40 of 43

 

 

 

$13,549.00

$13,549.00

 

 

 

$2,554.00
_ $13,549.00

 

10,995.00

 

 

 

Debtor 1 Anna Elaine Willliams Case number (if known)
20. Other real property expenses not included in lines 4 or 5 of this form or on

Schedule I: Your Income.

20a. Mortgages on other property 20a.

20b. Real estate taxes 20b.

20c. Property, homeowner's, or renter's insurance 20c.

20d. Maintenance, repair, and upkeep expenses 20d.

20e. Homeowner's association or condominium dues 20e.
21. Other. Specify: 21.
22, Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a,

22b, Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. 22b.

22c. Add line 22a and 22b. The result is your monthly expenses. 22c.
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a,

23b. Copy your monthly expenses from line 22c above. 23b.

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?

[V7] No.

 

C1 Yes.| Explain here:

None.

 

 

Official Form 106J Schedule J: Your Expenses

page 3

 

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 41 of 43

Fill in this information to identify your case:

Debtor 4 Anna Elaine Willliams
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

irrowny [J] Check if this is an
amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B......... sceneries eecersessseseneasseseeeetsnaeerericenseeceeatenteetenss $1,428,000.00

4b. Copy line 62, Total personal property, from Schedule AUB... cece ns escesseenenesssenreasateecesetasaseneteaans $41,135.34

 

 

 

1c. Copy line 63, Total of all property on Schedule A/B...... cece rete reteesereeereneseeneseereeseisieserieersanentsraririsneeneate rey ___ $1,469,135.34

Eira Summarize Your Liabilities

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D..... ___ $598,012.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule IP oo. eccecceeseeeteccteceteteeernees ___ $1,401.85
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/P...........cereen + ___ $721,463.91
Your total liabilities | ___$1,320,877.76_

 

 

 

Few Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule lo... eee renee teers ines neaeitaeieeceteer itary ____ $2,554.00

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule Jo... sess tsetse teres eereeetetetetereneseenensetetene teens seneneatesegy $13,549.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 42 of 43

Debtor 1 Anna Elaine Willliams Case number (if known)

 

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

[-] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

iw Yes

7. What kind of debt do you have?
Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159,

[ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from
Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 714.

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations. (Copy line 6a.)
9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
9d. Student loans. (Copy line 6f.)
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.)
Qf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +

 

9g. Total. Add lines 9a through Of.

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2

 
Case 21-60032 Document1 Filed in TXSB on 04/08/21 Page 43 of 43

Debtor 1 Anna Elaine Wiilliams
First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Namo Middle Namo Last Name

 

United States Bankruptcy Cour for the: SOUTHERN DISTRICT OF TEXAS

kecwny (1 Check if this Is an
amended filing

 

Declaration About an Individual Debtor's Schedules 12115

If two married people are fifing together, both are equally responsible for supplying correct information.

You nwust file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud In connection with a bankruptey case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both, 18 U.S.C, §§ 152, 1341, 1549, and 3574,

 

| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

[7] No

C] Yes. Name of person Attach Bankruptcy Petition Preparer's Nolice,

Declaration, and Signature (Official Form 119).

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and that they are

true and correct.

x 2, mn es24 x

Anna Elaine Williams, Debtor 1 Signature of Debtor 2

pate OY oe 8 (42 | Date
MM/OO1YYYY MM/DD/YYYY

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules page 1
